Case 2:19-cv-01312-SMB Document 1 Filed 02/25/19 Page 1 of 31
Case 2:19-cv-01312-SMB Document 1 Filed 02/25/19 Page 2 of 31
Case 2:19-cv-01312-SMB Document 1 Filed 02/25/19 Page 3 of 31
Case 2:19-cv-01312-SMB Document 1 Filed 02/25/19 Page 4 of 31
Case 2:19-cv-01312-SMB Document 1 Filed 02/25/19 Page 5 of 31
Case 2:19-cv-01312-SMB Document 1 Filed 02/25/19 Page 6 of 31
Case 2:19-cv-01312-SMB Document 1 Filed 02/25/19 Page 7 of 31
Case 2:19-cv-01312-SMB Document 1 Filed 02/25/19 Page 8 of 31
Case 2:19-cv-01312-SMB Document 1 Filed 02/25/19 Page 9 of 31
Case 2:19-cv-01312-SMB Document 1 Filed 02/25/19 Page 10 of 31
Case 2:19-cv-01312-SMB Document 1 Filed 02/25/19 Page 11 of 31
Case 2:19-cv-01312-SMB Document 1 Filed 02/25/19 Page 12 of 31
Case 2:19-cv-01312-SMB Document 1 Filed 02/25/19 Page 13 of 31
Case 2:19-cv-01312-SMB Document 1 Filed 02/25/19 Page 14 of 31
Case 2:19-cv-01312-SMB Document 1 Filed 02/25/19 Page 15 of 31
Case 2:19-cv-01312-SMB Document 1 Filed 02/25/19 Page 16 of 31
Case 2:19-cv-01312-SMB Document 1 Filed 02/25/19 Page 17 of 31
Case 2:19-cv-01312-SMB Document 1 Filed 02/25/19 Page 18 of 31
Case 2:19-cv-01312-SMB Document 1 Filed 02/25/19 Page 19 of 31
Case 2:19-cv-01312-SMB Document 1 Filed 02/25/19 Page 20 of 31
Case 2:19-cv-01312-SMB Document 1 Filed 02/25/19 Page 21 of 31
Case 2:19-cv-01312-SMB Document 1 Filed 02/25/19 Page 22 of 31
Case 2:19-cv-01312-SMB Document 1 Filed 02/25/19 Page 23 of 31
Case 2:19-cv-01312-SMB Document 1 Filed 02/25/19 Page 24 of 31
Case 2:19-cv-01312-SMB Document 1 Filed 02/25/19 Page 25 of 31
Case 2:19-cv-01312-SMB Document 1 Filed 02/25/19 Page 26 of 31
Case 2:19-cv-01312-SMB Document 1 Filed 02/25/19 Page 27 of 31
Case 2:19-cv-01312-SMB Document 1 Filed 02/25/19 Page 28 of 31
Case 2:19-cv-01312-SMB Document 1 Filed 02/25/19 Page 29 of 31
                                         Case 2:19-cv-01312-SMB Document 1 Filed 02/25/19 Page 30 of 31



                                     1   Preliminary Injunction, the Covered Persons are restrained and enjoined, for a period of
                                     2   18 months, from directly or indirectly conducting, carrying on, or engaging, in any
                                     3   manner, in any Prohibited Business.
                                     4            2.    Awarding TDBBS compensatory damages in an amount to be proved at
                                     5   trial;
                                     6            3.    Disgorging amounts by which Defendant EPI has been unjustly enriched,
                                     7   and awarding those amounts to TDBBS;
                                     8            4.    Awarding TDBBS exemplary damages of two times its actual damages for
                                     9   Defendant EPI’s violations of DTSA and AUTSA;
                                    10            5.    Awarding TDBBS punitive damages in an amount sufficient to punish
                                    11   Defendant EPI for the conduct alleged herein and to deter others from engaging in
3200 N. Central Avenue, Suite 805




                                    12   similar conduct;
  Phoenix, Arizona 85012-2407
    FISHER & PHILLIPS LLP




                                    13            6.    Awarding TDBBS its attorneys’ fees and costs;
         (602) 281-3400




                                    14            7.    Awarding TDBBS prejudgment interest on the foregoing sums at the
                                    15   highest rate permitted by law;
                                    16            8.    Awarding interest on the foregoing sums at the highest rate permitted by
                                    17   law from the date of judgment until paid; and
                                    18            9.    Granting TDBBS such other and further relief as the Court deems proper.
                                    19            DATED this 25th day of February 2019.
                                    20                                           FISHER & PHILLIPS LLP
                                    21
                                    22
                                                                                 By s/ Alanna R. Brook
                                    23                                               Pavneet Singh Uppal
                                                                                     Alanna R. Brook
                                    24                                               Lori Guner
                                    25                                               3200 N. Central Avenue, Suite 805
                                                                                     Phoenix, Arizona 85012-2407
                                    26                                               Attorneys for Plaintiff TDBBS, LLC
                                    27
                                    28

                                                                                    30
                                         FPDOCS 35059419.1
Case 2:19-cv-01312-SMB Document 1 Filed 02/25/19 Page 31 of 31
